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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA
    SHARON LEWIS,                                                 CIVIL ACTION
        Plaintiff
    VERSUS                                                        NO. 21-198-SM-RLB
    LOUISIANA STATE UNIVERSITY, ET AL.,
        Defendants


                                         ORDER

          At the status conference held in this matter on December 20, 2021, the parties

discussed case management procedures to be used in this case in light of the Owens, et

al. v. Louisiana State University, et al. (Case No. 21-242) action, also pending in the

Middle District of Louisiana and involving many of the same issues and parties as this

case.1

          The judges in both cases agreed the parties should meet and confer on the terms

of a protective order, applicable to this case and to Owens, and prepare and file a proposed

protective order in both cases, noting any unresolved disputes, on or before Friday,

January 14, 2022.

          The judges in both cases also agreed the parties should meet and confer on the

form of an order to govern the production of electronically stored information (“ESI”) in

this case and in Owens, and to prepare and file in both cases on or before Friday,

January 14, 2022, a proposed protocol for the production of ESI, in accordance with

the applicable Federal Rules of Civil Procedure, noting any unresolved disputes. The

proposed order should cover the collection of ESI; the retention and protection of ESI;




1   R. Doc. 169.
                                             1
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the format for producing ESI; the control numbering of ESI; file naming conventions; a

clawback provision; and other appropriate provisions.

        Counsel for the Plaintiffs in the Owens action, with the consent of all defense

counsel in both actions, have requested additional time to review the proposed protective

order and the proposed protocol for the production of ESI.

        IT IS ORDERED that counsel for the parties in this action and in Owens shall

file a proposed protective order and a proposed protocol for the production of ESI, noting

any unresolved disputes, on or before Friday, January 21, 2022.2


        New Orleans, Louisiana, this 14th day of January, 2022.


                                                  _______ _____________ __________
                                                           SUSIE MORGAN
                                                    UNITED STATES DISTRICT JUDGE




2A copy of this order will be provided to all counsel in Owens, et al. v. Louisiana State University, et al.
(Case No. 21-242).
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